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~i United States Bankruptcy Court for the:
                                                                                                               i
SOUTHERN DISTRICT OF NEW YORK

Case number ~rfk~oW~~                                                        Chapter    11
                                                                                                                       ❑ Check if this an
                                                                                                               I~        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name                 Purdue Pharmaceuticals L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.    Debtor's federal
      Employer Identification       XX-XXXXXXX
      Number(EIN)


4.    Debtor's address              Principal place of business                                 Mailing address, if different from principal place of
                                                                                                business

                                    One Stamford Forum
                                    201 Tresser Boulevard
                                    Stamford, CT 06901
                                    Number, Street, City, State &ZIP Code                       P.O. Box, Number, Street, City, State 8~ ZIP Code

                                    Fairfield                                                   Location of principal assets, if different from principal
                                    County                                                      place of business

                                                                                                Number, Street, City, State &ZIP Code


5.    Debtor's website(URL)         www.purduepharma.com


6.   Type of debtor                 ❑Corporation (including Limited Liability Company(LLC)and Limited Liability Partnership (LLP))
                                    ■ Partnership (excluding LLP)
                                    ❑ Other. Specify'




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Debtor    Purdue Pharmaceuticals L.P.                                                                  Case number (iI known)



7.   Describe debtor's business A. Check one:
                                       ❑ Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                       ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                       ❑ Stockbroker(as defined in 11 U.S.C. § 101(53A))
                                       ❑ Commodity Broker(as defined in 11 U.S.C.§ 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                       ■ None of the above

                                       B. Check all that apply
                                       ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                       ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       ❑ Investment advisor(as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the            p Chapter 7
     debtor filing?
                                       ❑ Chapter 9

                                       ■ Chapter 11. Check all that apply:
                                                            ❑    Debtor's aggregate noncontingent liquidated debts(excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625(amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                            ❑    The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(6).
                                                            ❑    A plan is being filed with this petition.
                                                            ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       ❑ Chapter 12



9.   Were prior bankruptcy             ~ No
     cases filed by or against
     the debtor within the last 8      ❑Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                              Case number
                                                District                                  When                              Case number

10. Are any bankruptcy cases           ❑ No
    pending or being filed by a
    business partner or an             ■Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor     See Attached Schedule 1                                         Relationship            Affiliate

                                                           Southern District of
                                                District   New York                       When                             Case number, if known




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Debtor    Purdue Pharmaceuticals L.P.                                                            Case number (if known)


11. Why is the case filed in    Check all that apply:
    this disfrict?
                                ❑      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                ■      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      ■ No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                ❑Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention?(Check all that apply.)
                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           ❑ It needs to be physically secured or protected from the weather.
                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           ❑ Other
                                          Where is the property?
                                                                            Number, Street, City, State &ZIP Code
                                          Is the property insured?
                                          ❑ No
                                          ❑ Yes. Insurance agency
                                                     Contact name
                                                     Phone


_ Statistical and administrative information

13. Debtor's estimation of              Check one:
    available funds
                                        ■ Funds will be available for distribution to unsecured creditors.
                                        ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         ❑ 1.49                                          ■ 1,000-5,000                              ❑ 25,001-50,000
    creditors                   ❑ 50-99                                                                                    ❑ 50,001-100,000
                                                                                ❑ 5001-10,000
                                ❑ 100-199                                       ❑ 10,001-25,000                            ❑More than100,000
                                ❑ 200-999

75. Estimated Assets            ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 -$1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                O $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ■ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑ More than $50 billion


16. Estimated liabilities       ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ■ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑ More than $50 billion




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Debtor    Purdue Pharmaceuticals L.P.                                                             Case number (if known)



_ Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   have been authorized to file this petition on behalf of the debtor.

                                   have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       September 15, 2019
                                                  M M / DD / YWY

                             X             ~,/"~~                                                        Jon Lowne
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Authorized Person




                                                                                                          Date September 15, 2019
18. Signature of attorney    X I
                               Signature of attorney for debtor                                                M M / DD / YYYY

                                 Marshall S. Huebner
                                 Printed name

                                  Davis Polk &Wardwell LLP
                                  Firm name

                                 450 Lexington Avenue
                                 New York, NY 10017
                                 N umber, Street, City, State &ZIP Code

                                  Contact phone     212-450-4000                 Email address      Purdue.noticing@dpw.com


                                 2601094 NY
                                 Bar number and State




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                                  SCHEDULE 1 TO PETITION
                Pending Bankruptcy Cases in the Southern District of New York
                       Filed by the Debtor and Affiliates of the Debtor


         On the date hereof, each ofthe affiliated entities listed below (including the debtor in this
 chapter 11 case) filed a voluntary petition for relief under chapter 11 of title 11 of the United
 States Code in the United States Bankruptcy Court for the Southern District of New York (the
 "Court"). A motion has been filed with the Court requesting that the chapter 11 cases of these
 entities be consolidated for procedural purposes only and jointly administered under the case
 number assigned to the chapter 11 case ofPurdue Pharma L.P.
            1. Purdue Pharma L.P.
            2. Purdue Pharma Inc.
            3. Purdue Transdermal Technologies L.P.
            4. Purdue Pharma Manufacturing L.P.
            5. Purdue Pharmaceuticals L.P.
            6. Imbrium Therapeutics L.P.
            7. Adlon Therapeutics L.P.
            8. Greenfield BioVentures L.P.
            9. Seven Seas Hill Corp.
            10.Ophir Green Corp.
            1 1. Purdue Pharma of Puerto Rico
            12. Avrio Health L.P.
            13. Purdue Phannaceutical Products L.P.
            14. Purdue Neuroscience Company
            15. Nayatt Cove Lifescience Inc.
            16. Button Land L.P.
            17. Paul Land Inc.
            18. Quidnick Land L.P.
            19. Rhodes Associates L.P.
            20. Rhodes Pharmaceuticals L.P.
            21. Rhodes Technologies
            22. UDF LP
            23. SVC Phanna LP
            24. SVC Pharma Inc.
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                                PURDUE PHARMA INC.

                             SECRETARY'S CERTIFICATE

                                    September 15,2019



          I, Marc L. Kesselman,the Secretary ofPurdue Pharma Inc., a New York
   corporation ("PPI"), hereby certify, in my capacity as the Secretary ofPPI and not
   individually, that the resolutions attached as Annex A were duly approved by the Board
   of Directors ofPPI on September 15, 2019, have not been amended, modified, revoked or
   rescinded as ofthe date hereof, and are in full force and effect.



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            IN WITNESS WHEREOF,the undersigned, solely in his capacity as the
    Secretary of PPI, and not individually, has executed this Certificate as of the date first
    written above.

                                                  PURDUE PHARMA INC.


                                                  By:
                                                         Name: Marc . Kesse an
                                                         Title: Senior Vice President, General
                                                         Counsel &Secretary




                           [SignaticYe Page to Secretary's Certificate]
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                                   Annex A

                                  Resolutions

                                [See attached.]




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                                             Purdue Pharma Inc.
                                     Resolutions of the Board of Directors


                                                September 15, 2019


              Commencement of Chapter 11 Case

        WHEREAS,(i) the Corporation is the general partner of Purdue Pharma L.P., a Delaware
limited partnership ("PPLP"), and the general partner or managing general partner of each entity
identified on Schedule 1 A hereto, and (ii) PPLP is a limited partner or partner of each entity
identified on Schedule lA hereto (other than Rhodes Pharmaceuticals L.P. ("Rhodes Pharma
LP"), Rhodes Technologies("Rhodes") and UDF L.P.("UDF"));~

        WHEREAS,(i) Rhodes Associates L.P.("Rhodes LP") is(A)the general partner of each
entity identified on Schedule 1 B hereto and (B) a limited partner of Rhodes Pharma LP and a
partner of Rhodes, and (ii) Rhodes is a limited partner of UDF;

        WHEREAS, each of PPLP, each entity identified on Schedule lA and each entity
identified on Schedule 1 B is hereafter referred to as a "Partnership" and collectively, the
"Partnerships";

         WHEREAS the Board reviewed and considered the materials presented by the
management team and the financial and legal advisors of each Partnership regarding the
liabilities and liquidity of each Partnership, the strategic alternatives available to each of them
and the impact ofthe foregoing on the Partnerships' respective businesses; and

        WHEREAS the Board consulted with each Partnership's management team and its
financial and legal advisors, and has fully considered each of the Partnerships' strategic
alternatives.

        NOW, THEREFORE, BE IT RESOLVED that in the judgment of the Board, it is
desirable and in the best interests of(i) the Corporation,(ii) PPLP (in the Corporation's capacity
as general partner of PPLP)and (iii) each of the other Partnerships (in the Corporation's capacity
as general partner of certain of such Partnerships, or in its capacity as general partner of an entity
that is directly or indirectly the general partner, limited partner or partner of certain of such
Partnerships), and (iii) the respective creditors and other stakeholders of each of the foregoing,
that a petition be filed by the Corporation and each of the Partnerships seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the "Bankruptcy Code"); and


            Additional conformed resolutions needed for the Boards of(A)Nayatt Cove Lifescience Inc.,(B)Paul
Land Inc.,(C)SVC Pharma Inc.(covering the Ch. 1 1 filing of itself, and of SVC Pharma LP in its capacity as the
general partner of SVC Pharma LP),(D)Seven Seas Hill Corp. and(E)Ophir Green Corp.(the latter two are BVI
entities, and these resolutions should cover the Ch. 11 filing for each BVI entity and also each authorize the Ch. 1 1
filing for Purdue Pharma of Puerto Rico, a DE general partnership, of which each BVI entity is a 50%partner).




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         RESOLVED FURTHER, that each of the Chief Executive Officer, Chief Financial
 Officer or any other officer or duly authorized signatory of the Corporation (each, an
"Authorized Person") be, and each of them hereby is, authorized on behalf of(i) the Corporation,
(ii) PPLP (in the Corporation's capacity as general partner of PPLP) and (iii) each of the other
Partnerships (in the Corporation's capacity as general partner of certain of such Partnerships, or
 in its capacity as general partner of an entity that is directly or indirectly the general partner,
 limited partner or partner of certain of such Partnerships), to execute and verify petitions under
chapter 11 of the Bankruptcy Code and to cause such petitions to be filed in the United States
Bankruptcy Court for the Southern District of New York (the "Court"), each such petition to be
filed at such time as the Authorized Person executing the petition shall determine and to be in the
form approved by the Authorized Person executing such petition, such approval to be
conclusively evidenced by the execution, verification and filing thereof.

                Retention of Advisors

         RESOLVED,that the Authorized Persons be, and hereby are, authorized, empowered and
 directed to employ, subject to Bankruptcy Court approval: (i) the law firm of Davis Polk &
 Wardwell LLP as general bankruptcy counsel, (ii) PJT Partners LP as investment banker, (iii)
 AlixPartners LLP as restructuring financial advisor,(iv) Prime Clerk LLC as notice, claims and
 solicitation agent, and (v) any other legal counsel, accountants, financial advisors, restructuring
 advisors or other professionals any of the Authorized Persons deems necessary, appropriate or
 advisable; each to represent and assist the Corporation and each Partnership in carrying out their
 respective duties and responsibilities and exercising their respective rights under the Bankruptcy
 Code (including, but not limited to, the law firms filing any pleadings or responses); and in
 connection therewith, each of the Authorized Persons be, and hereby is authorized, empowered
 and directed, in accordance with the terms and conditions hereof, to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
 for authority to retain such services; and

         RESOLVED FURTHER, that each of the Authorized Persons, be, and hereby is,
 authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
 applications, pleadings, and other papers, and to perform such further actions and execute such
 further documentation that such Authorized Person deems necessary, appropriate or desirable in
 accordance with theseresolutions.

            General Authorization and Ratification

         RESOLVED that the Authorized Persons be, and each of them hereby is, authorized,
 directed and empowered, in the name and on behalf of (i) the Corporation, (ii) PPLP (in the
 Corporation's capacity as general partner of PPLP)and (iii) each of the other Partnerships (in the
 Corporation's capacity as general partner of certain of such Partnerships, or in its capacity as
 general partner of an entity that is directly or indirectly the general partner, limited partner or
 partner of certain of such Partnerships), to take, or cause to be taken, any and all further actions
(including, without limitation,(i) execute, deliver, certify, file and/or record and perform any and
 all documents, agreements, instruments, motions, affidavits, applications for approvals or rulings
 of governmental or regulatory authorities or certificates and (ii) pay fees and expenses in
 connection with the transactions contemplated by the foregoing resolutions) and to take any and



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 all steps deemed by any such Authorized Person to be necessary, advisable or desirable to carry
 out the purpose and intent of each of the foregoing resolutions, and all actions heretofore taken
 by any such Authorized Person or the Board in furtherance thereof are hereby ratified, confirmed
 and approved in all respects; and

         RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
 contemplated by the foregoing resolutions done in the name of and on behalf of (i) the
 Corporation, (ii) PPLP (in the Corporation's capacity as general partner of PPLP) and (iii) each
 of the other Partnerships (in the Corporation's capacity as general partner of certain of such
 Partnerships, or in its capacity as general partner of an entity that is directly or indirectly the
 general partner, limited partner or partner of certain of such Partnerships), which acts would have
 been approved by the foregoing resolutions except that such acts were taken before the adoption
 of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
 the Corporation and the Partnerships, as applicable, with the same force and effect as if each
 such act, transaction, agreement, or certificate has been specifically authorized in advance by
 resolution of the Board; and

        RESOLVED FURTHER, that the omission from these resolutions of any agreement,
document or other arrangement contemplated by any of the agreements, documents or
instruments described in the foregoing resolutions or any action to be taken in accordance with
any requirement of any of the agreements or instruments described in the foregoing resolutions
shall in no manner derogate from the authority of the Authorized Persons to take all actions
necessary, desirable, advisable or appropriate to consummate, effectuate, carry out or further the
transactions contemplated by, and the intent and purposes of, the foregoing resolutions.




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                                             Schedule lA

                        ENTITY                           JURISDICTION OF FORMATION

      Purdue Transdermal Technologies L.P.                           Delaware

         Purdue Pharma Manufacturing L.P.                            Delaware

               Purdue Pharmaceuticals L.P.                           Delaware

                Imbrium Therapeutics L.P.                            Delaware

                 Adlon Therapeutics L.P.                             Delaware

               Greenfield BioVentures L.P.                           Delaware

                    Avrio Health L.P.                                Delaware

       Purdue Pharmaceutical Products L.P.                           Delaware

              Purdue Neuroscience Company                            Delaware

                 Rhodes Associates L.P.                              Delaware

              Rhodes Pharmaceuticals L.P.                            Delaware

                  Rhodes Technologies                                Delaware

                       UDF L.P.                                      Delaware



                                             Schedule 1B

                       ENTITY                           JURISDICTION OF FORMATION

                   Button Land L.P.                                 Delaware

                  Quidnick Land L.P.                                Delaware




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  DAMS POLK & WARDWELL LLP
  450 Lexington Avenue
  New York, New York 10017
  Telephone:(212)450-4000
  Facsimile:(212)701-5800
  Marshall S. Huebner
  Benjamin S. Kaminetzky
  Timothy Graulich
  Eli J. Vonnegut

  Proposed Counsel to the Debtors
  and Debtors in Possession

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re:                                                         Chapter 11

  PURDUE PHARMA L.P., et al.,                              ~     Case No. 19-[       J (RDD)

                   Debtors. t                                   (Joint Administration Pending)


           CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
           TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

           Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

  Procedures (the "Bankruptcy Rules") and Rule 1007-3 of the Local Bankruptcy Rules for the

  Southern District of New York (the "Local Rules"), Purdue Pharma L.P. ("PPLP") and its

  affiliates that are debtors and debtors in possession (collectively, the "Debtors") respectfully

  represent:



          ' The Debtors in these cases, along with the last four digits of each Debtor's registration number in the
  applicable jurisdiction, are as follows: Purdue Phanna L.P.(7484), Purdue Pharma Inc.(7486), Purdue Transdermal
  Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
  Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
  Seas Hill Corp.(4591), Ophir Green Corp.(4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P.(4140),
  Purdue Pharmaceutical Products L.P.(3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
 (7805), Button Land L.P.(7502), Rhodes Associates L.P.(N/A), Paul Land Inc.(7425), Quidnick Land L.P.(7584),
  Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
  SVC Pharma Inc. (4014). The Debtors' corporate headquarters is located at One Stamford Forum, 201 Tresser
  Boulevard, Stamford, CT 06901.
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         1.      Non-Debtor Pharmaceutical Research Associates L.P. directly owns 100% of the

  ownership interests of PPLP.       Non-Debtor PLP Associates Holdings L.P. directly owns

  approximately 99.5061% of the ownership interests of Pharmaceutical Research Associates L.P.

  Non-Debtor BR Holdings Associates L.P. directly owns 100% of the ownership interests of PLP

  Associates Holdings L.P. Non-Debtor Beacon Company and non-Debtor Rosebay Medical

  Company L.P. each directly own 50% of the ownership interests of BR Holdings Associates L.P.

  Non-Debtor Heatheridge Trust Company Limited, as Trustee under Settlement dated 31

  December 1993 directly owns 100% of the ownership interests of Beacon Company. Richard S.

  Sackler, M.D. (`RSS") and Jonathan D. Sackler ("JDS"), as Trustees under Trust Agreement

  dated November 5, 1974 directly own 98% of the ownership interests of Rosebay Medical

  Company L.P. To the best of the Debtors' knowledge and beliefi, no other person or entity

  directly or indirectly owns 10% or more of the ownership interests of PPLP.

         2.      Non-debtor Banela Corporation directly owns 50% of the ownership interests of

  Debtor Purdue Pharma Inc. ("PPI"); non-debtor Linarite Holdings LLC directly owns 25% of

  the ownership interests of PPI; and non-debtor Perthlite Holdings LLC directly owns 25% of the

  ownership interests of PPI. Non-debtor Millborne Trust Company Limited, as Trustee of the

  Hercules Trust under Declaration of Trust dated 2 March 1999 directly owns 100% of the

  ownership interests of Banela Corporation.     Non-debtor Data LLC, as Trustee under Trust

  Agreement dated December 23, 1989 directly owns 100% of the ownership interests of Linarite

  Holdings LLC.     Non-debtor Cornice Fiduciary Management LLC, as Trustee under Trust

  Agreement dated December 23, 1989 directly owns 100% of the ownership interests of Perthlite

  Holdings LLC. To the best ofi the Debtors' knowledge and beliefi; no other person or entity

  directly or indirectly owns 10% or more of the ownership interests of PPI.




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         3.     PPLP directly owns 100% of the ownership interests of the following Debtors:

  Purdue Transdermal Technologies L.P., Purdue Pharmaceuticals L.P., Purdue Pharma

  Manufacturing L.P., Adlon Therapeutics L.P., Imbrium Therapeutics L.P., Greenfield

  BioVentures L.P., Nayatt Cove Lifescience Inc., Purdue Pharmaceutical Products L.P., Rhodes

  Associates L.P., Avrio Health L.P., Seven Seas Hill Corp., and Ophir Green Corp. PPLP directly

  owns 99% of the ownership interests of Debtor Purdue Neuroscience Company. Purdue Pharma

  Inc. directly owns the remaining 1% of the ownership interests of Purdue Neuroscience

  Company.

         4.     Rhodes Associates L.P. directly owns 100% of the ownership interests of the

  following Debtors: Rhodes Technologies, Rhodes Pharmaceuticals L.P. and Paul Land Inc.

         5.     Rhodes Technologies directly owns 100% of the ownership interests of UDF L.P.

  and SVC Phanna Inc.

         6.      UDF LP directly owns 100% of the ownership interests of Button Land L.P. and

  Quidnick Land L.P. UDF LP directly owns 99% of the ownership interests of SVC Pharma LP

  SVC Pharma Inc. directly owns 1% ofthe ownership interests ofSVC Pharma LP.

         7.     Seven Seas Hill Corp. and Ophir Green Corp. each directly own 50% of the

  ownership interests ofPurdue Pharma of Puerto Rico.

         8.     Attached hereto as Exhibit A is an organizational chart reflecting the Debtors'

  ownership structure.




                                                3
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                                        Exhibit A
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    PURDUE PHARMA L.P. -SUBSIDIARIES




                                                                                                                                                  Purdue Pharma L.P.,
                                        Purdue Pharma Inc.,
                                      a New York corporation                                                                                 a Delaware limited partnership
                                                   po/*                                                             100%                                                                                                                                                          Purdue Pharma Inc.,
                                                                                                                                                                                                                                                                                a New York wrporation
                                                                                                                                                                     100%                                                                                                         0%'
                                 Rhodes Associates L.P.,
                              a Delaware limited partnership
                                                                                                                                                                            Purdue Transdcnnal Tcc6nologics L.P..          Purdue Phannaccmicals L.P..            Purdue Pl~anna Manu(acwring L.P.,
                                                                                                                Purdue Pharma Inc.,                                             a Delaware limi~cd panncrship             a Delaware limilcd partnership            a Dclawaro limited parincrship
                                Purdue Pharma Inc.,                                                           a New York corporation
                              a New York corporation
                    100%                                            ~pp~               luU~o                                  0%~
                                          0%'•                                                                                                                      Adlon ThcrapcWics L.P..                Imbriwn Therapeutics L.P.,          Greenfield BioVcnmres L.P..
                 Paul Land                                                                                                                                       a Dclaearc limi~cd partnership          a Dcla~~arc limited panncrship       a Dcla~varc limited partnership
                   Inc.,                                      Rhodes Technologies,                            Rhodes Pharmaceuticals L.P.,
                a New York                                a Delaware general partnership                      a Delaware limited partnership
                corporation           ~~'                                  100%                   100%                                                         100
                                                          UDF LP,                                   SVC Phanna Inc.,                                        Nayatt Cove Lifescinnce Inc.,
                                                a Delaware limited partnership                    a Delaware corporation                                      a Delaware corporation
           U%'
                                               100%                           99%

                    Button Land L.P.,                                                                                                                                         Purdue Pharma Inc.,
              a Delaware limited partnership                                          SVC Pharma LP,                                                                        a New York corporation
                                                            i00%                a Delaware limited partnership
                                                                                                                                                         99%                      1%
    y           Quidnick Land L.N.,
           a Delaware limited partnership
                                                                             100%
                                                                                                                    Purdue Pharma Inc.,                   Purdue Neuroscience Company, a
                                                                                                                  a New York corporation                    Delawaro general partnership
                                                Seven Seas Hill Corp.              Ophir Green Corp.
                                                British Virgin Islands)         (British Virgin Islands)
                                                                                                                           0~'                 100                        Nurdue Pharma Inc.,
                                                           50%                                     50                                                                   a New York corporation


                                                                                                                          A~~~o Health L.P.,            100%                    p/•
                                                                 Purdue Pharma of Puerto Rico,
                                                                                                                    a Delaware limited partnership
                                                                 a Delaware general partnership
                                                                                                                   (Formerly Purdue Products L.P.)
                                                                                                                                                       Purdue Pharmaceutical Products L.P.,
                                                                                                                                                          a Delaware limited parmership




*       General Partner has no equity interest in L.P., rather the General Partner receives a service fee for acting as General Partner.
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 PURDUE PHARMA L.P. -OWNERSHIP

                                                                                                                                                                                                                        Cornice Fiduciary
                                                                                                                                      Hea~heridge Trust Company                                                         Management LLC,
                                                                                        Cornice Fiduciary                              Limited, as Trustee under                       Data LLC, as Trustee              as Trustee under
     Millbomz Trust Company                                                           Management LLC,as                           Settlement dated 31 December 1993                   under Trust Agreement             Trust Agreemem
     Limited, as Trustee of the                 Data LLC, as ~I'rustze                 Trustee under Trust                                                                             dated December 23,              dated December 23,
       Hercules Trust under                    under Trust Agreement                    Agreement dated                              100%                          i 00                 989(I 989 "Crust I)            1989(1989 Trus[ 2)
     Declaration of Trust dated                  dated December 23,                    December 23, 1989
          2 March 1999                           1989(1989 Trus13)                       (1989 Trust 4)
                                                                                                                                                                                        ~~% I                          50%
                        100%                                       100%                                 100%               Stanhope Gale Corp.
                                                                                                                           British Virgin Islands)
                                              Linarite Holdings LLC,                 Per~hlite Holdings LLC,
        Banala Corporation                      a Delaware limited                      a Delaware limited                                                                                    Rosebay Medical Company, Inc.,             Richard S. Sackler, M.D. ~"RSS") and
      (British Virgin Islands)                   liability company                       liability company                          p/                                                          a Delaware corporelion(GP)                  Jonathan D. Sackler('7DS"), as
                                                                                                                                                                                                                                         Trustees under Trust Agreement dated
                                                                                                                                                                                                                                                   November 5, 1974

                                                                                                                                                                                                               Zoe                                     98%
                                                                                                                                          Beacon Company, a Dzlaware
                                                              25~                        25%                                                  general partnership
                        50%
                                                                                                                                                                                                                                 Rosebay Medical Company L.P.,
                                                                                                                                                                                                                                  a Delaware limited partnership
                                                                                                                                                                                      BR Holdings Associates Inc.,
                                                                                                                                                                                       a New York corporation

                                                                                                              Same ultimate beneficial                    50%                                          0%"                         50%
                                                                                                          ownership as Purdue Pharma Inc.


                                                                                                            PLP Associates Holdings Inc.,                                             BR Holdings Associates L.P.,
                                                                                                              a Nzw YorA corporation                                                  a Delaware limited patlnership


                                                                                                                                           0%'                                              100°h




                                                            Purdue Pharma Inc.,                                                                      PLP Associates Holdings L.P.,                       PLP Associates Holdings Inc.,                   BR Holdings Associates Inc.,
                                                          a Nzw York corporation                                                                     a Delawarz limited partnership                        a New YorA corporation                          a New York coryoraiion

                                                                                0.2475%"*                                                   99.5061%s~                                                 0.2464%'~;                                       0%;



                                                                                                                              I'I~armaceutical Research Associates L.P.,
                                                                                                                                  a Delaware limited partnership***
                                                                            or•

                                                                                                                                                                          ioor
                                                                                                               Purdue Pharma L.P., a Delaware limited partnership



 "     General Partner haz no equity interest in L.P., rather the General Partner receives a service fee for acting as General Partner.
'
•  BR Holdings Associates Inc. is the general partner of Pharmaceutical Research Associates L.P.; Purdue Pharma Inc., PLP Associates Holdings Inc. and PLP Associates Holdings L.P. are the limited partners of Pharmaceutical Research Associates L.P.
"
' Name change from Purdue Holdings L.P. to Pharmaceutical Research Associated L.P. effective July 24,2018
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         Debtor name            Purdue Pharmaceuticals L.P.

         U nited States Bankruptcy Court for the: Southern District of New York

         Case number (if known)                                                                                                            ❑ Check if this is an
                                                                                                                                             amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                    ~ti~s
    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 71 U.S.C.§ 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
    largest unsecured claims.

     Certain of the Debtors are named as defendants in over 2,600 actions across the country in connection with the marketing and sale of opioid medications
    ("Pending Actions"). Any claims asserted against any Debtor in respect of the Pending Actions (the "Pending Action Claims") are contingent,
     unliquidated in amount and disputed. All creditors asserting Pending Action Claims will be included in the Debtors' list of creditors. This List of Creditors
     Who Have the 50 Largest Unsecured Claims and Are Not Insiders does not include these contingent, unliquidated and disputed claims.

      Name of creditor and complete            Name,telephone number, and email          Nature of the claim   Indicate if     Amount of unsecured claim
      mailing address, including zip code      address of creditor contact              (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                        debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                         professional          unliquidated,   secured, fill in total claim amount and
                                                                                        services, and          or disputed     deduction for value of collateral or setoff to
                                                                                        government                             calculate unsecured claim.
                                                                                        contracts)
                                                                                                                               Total claim, if   Deduction for    Unsecured
                                                                                                                               partially         value of         claim
                                                                                                                               secured           collateral or
                                                                                                                                                 setoff
                                          ENSIONBENEFITGUARANTYCORPORATION
~     PENSION BENEFITGUARANTYCORPORATION
                                          17N: CYNTHIA WONG
      CYNTHIA WONG                                                                                              CONTINGENT
                                         PHONE: 202-229-3033                                  PENSION                                                            UNDETERMINED
      1200 K STREET NW                                                                                         UNLIQUIDATED
                                          Ax: 202-326-4112
      WASHINGTON, DC 20005
                                          MAIL: WONG.CYNTHIA@PBGC.GOV


2     CVS CAREMARK PART D SERVICES, L.L.C.    VS CAREMARK PART D SERVICES, L.L.C.
        NDY ZANIN,TRADE DIRECTOR, MED D       TTN: ANDY ZANIN, TRADE DIRECTOR, MED D
                                                                                            PAYER REBATES                                                          519,281,161
      1 CVS DRIVE                             HONE: 440-542-4010
      WOONSOCKET, RI 02895                   EMAIL: ANDREW.ZANIN@CVSHEALTH.COM


3     OPTUMRX, INC.                           PTUMRX, INC.
      KENT ROGERS,SENIOR VP INDUSTRY          TTN: KENT ROGERS,SENIOR VP INDUSTRY
      RELATIONS                               ELATIONS                                      PAYER REBATES                                                          $15,800,513
      2300 MAIN ST                            HONE: 949-988-6066
      IRVINE, CA 92614-6223                  EMAIL: KENT.ROGERS@OPTUM.COM

4     DEFENSE HEALTH AGENCY                   EFENSEHEALTH AGENCY
      COLONEL DAVID BOBB, CHIEF PHARMACY      TTN: COLONEL DAVID BO68, CHIEF PHARMACY
      OPERATIONS DIVISION, DHA                PERATIONS DIVISION, DHA                       PAYER REBATES                                                          55,952,016
      16401 E CENTRETECH PKWY                PHONE: 703-681-2890
       URORA, CO 80011-9066                   MAIL: DAVID.W.BOBB.CIV@MAIL.MIL


5     DEPARTMENT OF HEALTH CARE SERVICES(CA) DEPARTMENT OF HEALTH CARE SERVICES (CA)
      ROBERT SHUN                             TTN: ROBERT SHUN
                                                                                            PAYER REBATES                                                          55,162,762
      PO BOX 997413                           HONE: 916-552-9609
       ACRAMENTO, CA 95899-7413               MAIL: ROBERT.SHUN@DHCS.CA.GOV

                                              AREMARKPCS HEALTH, L.L.C.
6     CAREMARKPCS HEALTH, L.I.C.
                                              ~N:SAPPAN BHATT, DIRECTOR TRADE
       APPAN BHATT, DIRECTOR TRADE RELATIONS
                                             RELATIONS                                      PAYER REBATES                                                          55,039,745
      1 CVS DRIVE
                                             PHONE:847-559-3062
      WOONSOCKET, RI 02895
                                              MAIL: SAPPAN.BHATT@CVSHEALTH.COM




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Debtor       Purdue Pharmaceuticals L.P.                                                                    Case number (if known)
              Name

      Name of creditor and complete               Name, telephone number, and email            Nature of the claim   Indicate if     Amount of unsecured claim
      mailing address, including zip code         address of creditor contact                 (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                              debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                               professional          unliquidated,   secured, fill in total claim amount and
                                                                                              services, and          or disputed     deduction for value of collateral or setoff to
                                                                                              government                             calculate unsecured claim.
                                                                                              contracts)
                                                                                                                                     Total        Deduction         Unsecured
                                                                                                                                     claim, if    for value of      claim
                                                                                                                                     partially    collateral or
                                                                                                                                     secured      setoff

~     MERISOURCEBERGEN                           MERISOURCEBERGEN
     DAVE VIETRI, VICE PRESIDENT BRANDED AND     l~'N: DAVE VIETRI, VICE PRESIDENT BRANDED
      PECIALN CONTRACTS                          ND SPECIALTY CONTRACTS                         DISTRIBUTOR FEES                                                         54,455,373
     3735 GLEN LAKE DR                           HONE:610-727-7310
     CHARLOTTE, NC 28208                         MAIL: DVIETRI@AMERISOURCEBERGEN.COM

$    NORTH CAROLINA DEPARTMENT OF HEALTH         ORTH CAROLINA DEPARTMENT OF HEALTH AND
      ND HUMAN SERVICES                          UMAN SERVICES
      OHN STANCIL                                TTN:JOHN STANCIL                                 PAYER REBATES                                                          53,703,227
     2001 MAILSERVICE CENTER                     HONE:919-855-4305
     RALEIGH, NC 27699-2000                      MAIL: JOHN.STANCIL@DHHS.NC.GOV

9     MCKESSON CORPORATION                        CKESSON CORPORATION
      CHRIS ALVERSON, SENIOR VICE PRESIDENT OF   Tf N: CHRIS ALVERSON,SENIOR VICE PRESIDENT
       UPPLYCHAINMANAGEMENT                      FSUPPLYCHAINMANA6EMENT                         DISTRIBUTOR FEES                                                         $3,655,581
       NE POSTST                                 HONE:972-446-4104
       AN FRANCISCO, CA 94104-5203               MAIL: CHRIS.ALVERSON@MCKESSON.COM

1O      RDINAL HEALTH                             RDINAL HEALTH
      EFF CIZL, DIRECTOR STRATEGIC SOURCING      TTN:JEFF CIZL, DIRECTOR STRATEGIC SOURCING
     NATIONAL BRANDS                             ATIONAL BRANDS                                 DISTRIBUTOR FEES                                                         53,465,979
     1330 ENCLAVE PKY                            HONE:614-757-3694
     HOUSTON,TX 77077-2025                       MAIL: JEFF.CIZL@CARDINALHEALTH.COM


~ ~ MISSOURI HEALTHNEf DIVISION                    ISSOURI HEALTHNEf DIVISION
       ROLINA DELAROCHA                           TTN:CAROLINA DELAROCHA                                                                                                 $3,172,515
                                                                                                  PAYER REBATES
    PO BOX 570                                    HONE: 573-526-5664
     EFfERSON CIN, MO 65102                       MAIL: CAROLINA.D.DELAROCHA@DSS.MO.GOV

                                                  SCENT HEALTH SERVICES LLC
       SCENT HEALTH SERVICES LLC
~2                                                TTN: EDWARD ADAMCIK, PRESIDENT ASCENT
      EDWARDADAMCIK,PRESIDENTASCENT
                                                 HEALTH SERVICES
      HEALTH SERVICES                                                                             PAYER RE8ATE5                                                          $2,798,697
                                                 PHONE:908-240-1537
      1209 ORANGE ST
                                                 EMAIL:
        ILMINGTON, DE 19801
                                                 EA DAM CIK@ASCENTHEALTHSER VICES.CO M

13 WISCONSIN DEPARTMENTOF HEALTH                   ISCONSIN DEPARTMENT OF HEALTH SERVICES
    ERVICES
                                                  TTN: KIM WOHLER                                                                                                        $2,021,937
   KIM WOHIER                                                                                     PAYER REBATES
                                                  HONE:608-267-7100
    13 BLETHER RD
                                                  MAIL: KIM.WOHLER@WISCONSIN.GOV
   MADISON, WI 53784
    TATE OF NEW YORK DEPARTMENT OF
14 HEALTH                                        TATE OF NEW YORK DEPARTMENT OF HEALTH
                                                 TTN: CHRISTOPHER DESORBO
   CHRISTOPHER DESORBO                                                                            PAYER REBATES                                                          $1,963,959
                                                 HONE: 518-402-0836
   RIVERVIEW CENTER
                                                 MAIL:
   150 BROADWAY SURE 355                         HRISTOPHER.DESORBO@HEALTH.NY.GOV
    LBANY, NY 12204-2719

15 TATE OF NEW IERSEY DIVISION OF MEDICAL        TATE OF NEW IERSEY DIVISION OF MEDICAL
    SSISTANCE AND HEALTH SERVICES                SSISTANCE AND HEALTH SERVICES
   DAVID WILLIAMS                                TTN: DAVID WILLIAMS                              PAYER REBATES                                                          51,614,986
   LOCKBOX 655                                   HONE:609-588-7395
    RENTON, N108646-0655                         MAIL: DAVID.R.WILLIAMS@DHS.STATE.NJ.US

16 PRIME THERAPEUTICSLLC                         PRIME THERAPEUTICSLLC
    OSH BAST,SENIOR DIRECTOR                      TTN:JOSH BAST,SENIOR DIRECTOR
   PHARMACEUTICALTRADE RELATIONS                 PHARMACEUTICAL TRADE RELATIONS                   PAYER REBATES                                                          51,533,047
   PO BOX 64812                                  PHONE:612-777-5621
    T PAUL, MN 08646-0655                         MAIL: JABAST@PRIMEfHERAPEUTICS.COM

                                                  HIO DEPARTMENT OF MEDICAID
~~     HIO DEPARTMENT OF MEDICAID
                                                  TTN:TRACEY ARCHIBALD
       RACEYARCHIBALD                                                                             PAYER REBATES                                                          51,478,682
                                                  HONE:614-752-3522
       345 N. LINCOLN BLVD.
                                                  MAIL:
       KLAHOMA CITY, OK 73305
                                                  RACEY.ARCH(BALD@ MEDICAID.OHIO.GOV



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Debtor      Purdue Pharmaceuticals L.P.                                                           Case number (i/known)
             Name

    Name of creditor and complete           Name, telephone number, and email        Nature of the claim   Indicate if     Amount of unsecured claim
    mailing address, including zip code     address of creditor contact             (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                    debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                     professional          unliquidated,   secured, fill in total claim amount and
                                                                                    services, and          or disputed     deduction for value of collateral or setoff to
                                                                                    government                             calculate unsecured claim.
                                                                                    contracts)
                                                                                                                           Total        Deduction         Unsecured
                                                                                                                           claim, if    for value of      claim
                                                                                                                           partially    collateral or
                                                                                                                           secured      setoff

~$ COMMONWEALTH OF PENNSYLVANIA             OMMONWEALTH OF PENNSYLVANIA MEDICAID
   MEDICAID DRUG REBATE PROGRAM             RUG REBATE PROGRAM
   BRITTANY STARR                           TTN: BRITTANY STARR                         PAYER RE8ATE5                                                          $1,442,635
   PO BOX 780634                            HONE: 717-346-8164
   PHILADELPHIA, PA 19178                   MAIL: C-BSTARR@PA.GOV


19 GEORGIA DEPT OF COMMUNITY HEALTH         EORGIA DEPT OF COMMUNITY HEALTH
    REBECCA MORRISON                        TTN: REBECCA MORRISON
                                                                                        pgYER REBATES                                                          $1,414,770
    MEDICAID DRUG REBATE PROGRAM           PHONE: 404-657-7239
     TLANTA, GA 30384-8194                 EMAIL: REBECCA.MORRISON@DCH.GA.GOV


20 SYNEOS HEALTH fka INVENTIV HEALTH        YNE05 HEALTH fka INVENTIV HEALTH
   HAIYAN WANG, DIRECTOR BUSINESS           TTN: HAIYAN WANG, DIRECTOR BUSINESS
   DEVELOPMENT, EARLY PHASE                DEVELOPMENT, EARLY PHASE                      TRADE DEBT                                                            51,073,469
   1030 SYNC ST                             HONE: 514-485-7579
   MORRISVILLE, NC 27560                    AX:919-876-9360


2~ RHODES TECHNOLOGIES INC                  HODES TECHNOLOGIES INC
   EDWARD MAHONY                            TTN: EDWARD MAHONY
                                                                                        SERVICES FEES                                                          $1,034,752
   201TRESSER BOULEVARD                    PHONE:203-588-7088
    TAMFORD, CT 06901                      EMAIL: EDWARD.MAHONY@TXPSVCS.COM



 2 OHIO CLINICAL TRIALSINC                  HIO CLINICALTRIALSINC
   G LEN APSELOFF                           TTN:GLEN APSELOFF
                                                                                         TRADE DEBT                                                              5600,000
   1380 EDGEHILL RD                        PHONE:614-754-1570
   COLUMBUS,OH 43212                       EMAIL: GLEN @OHIOCLINICALTRIALS.COM



 3 PPD DEVELOPMENT LP                       PD DEVELOPMENT LP
   STEPHEN SCALDAFERRI                      TTN:STEPHEN SCALDAFERRI
                                                                                         TRADE DEBT                                                              5522,334
   26361 NETWORK PL                        PHONE: 910-465-7800
   CHICAGO, IL 60673                       EMAIL: STEPHEN.SCALDAFERRI@PPDI.COM


24 OKLAHOMA HEALTH CARE AUTHORITY           KLAHOMA HEALTH CARE AUTHORITY
   STACEY HALE                              TTN:STACEY HALE
                                                                                        PAYER REBATES                                                            $400,586
   PO BOX 18968                            PHONE: 405-522-7453
   OKLAHOMA CITY, OK 73154-0299            EMAIL: STACEY.HALE@OKHCA.ORG


25 PHARMACEUTICAL RESEARCH ASSOC INC       PHARMACEUTICAL RESEARCH ASSOC INC
    OSEPH DAWN                              TTN:JOSEPH DAWN
                                                                                         TRADE DEBT                                                              5373,122
    130 PARKLAKE AVE STE 400               PHONE: 434-951-3208
   RALEIGH, NC 27612                       EMAIL: JOSEPHDAWN@PRAHS.COM


                                             AVELENGTH ENTERPRISES INC
26 WAVELENGTH ENTERPRISES INC
                                            TTN: RAYMON D ALSKO
   RAYMOND ALSKO
                                           PHONE: 9I3-832-9260                           TRADE DEBT                                                              $361,909
   1700 RTE 23 N STE 130 FIRST FL
                                            MAIL:
   WAYNE, N107470
                                           RAYMOND.AISKO@WAVELENGTHPHARMA.COM


2~ CONTRACTPHARMACALCORP                    ONTRACTPHARMACALCORP
    NTHONY GARGANO                          TfN: ANTHONY GARGANO
                                                                                         TRADE DEBT                                                              $327,422
   135 ADAMS AVE                           PHONE: 631-231-4610
   HAUPPAUGE, NY 11788-3633                EMAIL: ANTHONY.GARGANO@CPC.COM



28 PL DEVELOPMENT LLC                      PL DEVELOPMENT LLC
    SINGLETERRY                             TTN:151NGLEfERRY
                                                                                         TRADE DEBT                                                              $271,195
   609-2 CANTIAGUE ROCK RD                 PHONE: 516-986-1700
     ESTBURY, NY 11590                     EMAIL: JSINGLETERRY@PLDEVELOPMENTS.COM




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Debtor       Purdue Pharmaceuticals L.P.                                                           Case number (if known)
              Name

      Name of creditor and complete             Name,telephone number, and email      Nature of the claim   Indicate if     Amount of unsecured claim
      mailing address, including zip code       address of creditor contact          (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                     debts, bank Ioans,     contingent,     unsecured claim amount. If claim is partially
                                                                                     professional           unliquidated,   secured, fill in total claim amount and
                                                                                     services, and          or disputed     deduction for value of collateral or setoff to
                                                                                     government                             calculate unsecured claim.
                                                                                     contracts)
                                                                                                                            Total        Deduction         Unsecured
                                                                                                                            claim, if    for value of      claim
                                                                                                                            partially    collateral or
                                                                                                                            secured      setoff

 9 HEALTHCORE INC                              EAITHCORE INC
   KELSEY GANGEMI                              1TN: KELSEY GANGEMI
                                                                                          TRADE DEBT                                                              $269,621
   123JUSTISON ST STE 200                      HONE: 302-230-2000
     ILMINGTON, DE 19801                       MAIL: KGANGEMI@HEALTHCORE.COM


3O COGNIZANTTECHSOLUTIONS US CORP              OGNIZANTTECH SOLUTIONS US CORP
    URANJAN KAYAL                              TTN:SURANJAN KAYAL
                                                                                          TRADE DEBT                                                              5262,216
   24721 NETWORK Pl                            HONE: 201-744-3444
   CHICAGO, IL 60673                           MAIL:SURANIAN.KAYAL@COGNIZANT.COM


31      gLRUS LLC                               ALRUS LLC
      PAULA BUCHMA                             TTN: PAULA BUCHMA
                                                                                          TRADE DEBT                                                              $236,471
      18 E 17TH ST 4TH FL                      HONE:646.731.1701
      NEW YORK, NY 10003                       MAIL: PAULA@WALRUSNYC.COM


32 DENVER HEALTH &HOSPITALAUTH                 ENVER HEALTH & HOSPITALAUTH
    COTT HOYE, GENERAL COUNSEL                 TTN:SCOTT HOYE,GENERAL COUNSEL
                                                                                          TRADE DEBT                                                              $235,742
   777 BANNOCK STREET                          HONE:303-436-6000
   DENVER, CO 80204                            AX: 303-602-4934


33     EMERSON GROUP INC                       EMERSON GROUP INC
      MATT POLL                                TTN: MATT POLL
                                                                                          TRADE DEBT                                                              $234,029
      07 EAST LANCASTER AVE                    HONE:610-971-9600
       AYNE,PA 19087                           MAIL: MATT.POLI@EMERSONGROUP.COM


34 INTEGRATED BEHAVIORAL HEALTHINC            NTEGRATED BEHAVIORAL HEALTHINC
      MARYSWEEI'                              TfN: MARY SWEEP
                                                                                          TRADE DEBT                                                              $228,793
       070 BRISTOL ST STE 350                 HONE:617-765-3144
      COSTA MESA, CA 92626                    MAIL: MSWEET@INFLEXXION.COM


35 CHALLENGE PRINTING COMPANY                  HALLENGE PRINTING COMPANY
       .YOUNG                                  TTN:S.YOUNG
                                                                                          TRADE DEBT                                                             $210,841
      PO BOX 27775                             HONE:973-471-4700
      NEWARK, N107101-7775                     MAIL:SYOUNG@CHALLENGEPRINTINGCO.COM


36 pECGX LLC                                   PECGX LLC
       ENERALCOUNSEL                           TTN:GENERAL000NSEL
                                                                                          TRADE DEBT                                                             $189,371
      385 MARSHALL AVE                         HONE: 314-654-2000
       HINT LOUIS, MO 63119-1831               AX:800-323-5039


3~     CI HEALTH                               CI HEALTH
      MARGAREfSHUBNY                           TTN:MARGARETSHUBNY
                                                                                         TRADE DEBT                                                              $161,049
      PO BOX 101890                            HONE: 312.596.2648
       TLANTA, GA 30392                        MAIL: MARGARET.SHUBNY@GCIHEALTH.COM


38     RIALCARD INC                            RIALCARD INC
      LINDSEY DOBBINS                          TI'N: LINDSEY DOBBINS
                                                                                         TRADE DEBT                                                              $151,286
      2250 PERIMETER PARK DR STE 300           HONE:919-415-5494
      MORRISVILLE, NC 27560                    MAIL: LINDSEY.DOBBINS@TRIALCARD.COM


                                               URPLESTRATEGIESLLC
39 PURPLE STRATEGIESLLC
                                               1TN:SARAH SIMMONS
    ARAH SIMMONS
                                               HONE:703-548-7877                         TRADE DEBT                                                              $150,000
   Si55LATERSLN
                                               MAIL:
    LEXANDRIA, VA 22314
                                               ARAH.51 MMONS@PURPIESTRATEGIES.COM



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Debtor       Purdue Pharmaceuticals L.P.                                                               Case number (if known)
              Name

     Name of creditor and complete              Name,telephone number, and email          Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code        address of creditor contact              (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                         debts, bank loans,     contingent,     unsecured claim amount. If claim is paRially
                                                                                          professional          unliquidated,   secured, fail in total claim amount and
                                                                                         services, and          or disputed     deduction for value of collateral or setoff to
                                                                                         government                             calculate unsecured claim.
                                                                                         contracts)
                                                                                                                                Total        Deduction         Unsecured
                                                                                                                                claim, if    for value of      claim
                                                                                                                                partially    collateral or
                                                                                                                                secured      setoff

4O                                             PC WORKFORCE SOLUTIONS LLC
      pC WORKFORCE SOLUTIONS LLC
                                               nN:CHERISH CHONG
     CHERISH CHONG
                                               HONE: 305.490.6535                             TRADE DEBT                                                              $148,537
     PO BOX 534305
                                               MAIL: CCHONG@WORKFORCELOGIQ.COM
      TLANTA, GA 30353


 ~ DEZENHALLRESOURCES                          EZENHALLRESOURCES
   MAYA SHACKLEY                               TTN: MAYA SHACKLEY
                                                                                              TRADE DEBT                                                              $142,835
   1130 CONNECTICUT AVENUE NW                  HONE:202-534-3170
     ASHINGTON, DC 20036-3904                  MAIL: MSHACKLEY@DEZENHALL.COM


 2    SHLAND SPECIALTY INGREDIENTS GP          SHLAND SPECIALTY INGREDIENTS GP
     BR KINSEY                                 TTN: BR KINSEY
                                                                                              TRADE DEBT                                                              $140,487
     8145 BLAZER DR                            HONE: 302-594-5000
     WILMINGTON, DE 19808                      MAIL: BRKINSEY@ASHLAND.COM


 3 SCIECURE PHARMA INC                         CIECURE PHARMA INC
   PURL                                        TTN:PURL
                                                                                              TRADE DEBT                                                              $139,364
   11 DEER PARK DR STE 120                    PHONE:908-723-1209
   MONMOUTH JUNCTION, NJ 08852                EMAIL: NOLAN.WANG@SCIECUREPHARMA.COM


44 FRONTAGE LA80RATORIES INC                   RONTAGE LABORATORIES INC
   KEVIN LI DONGMEI WANG, SVP/G M, CMC         TTN: KEVIN LI DONGMEI WANG,SVP/G M, CMC
    ERVICES                                    ERVICES                                        TRADE DEBT                                                             $122,902
   700 PENNSYLVANIA DR                         HONE: 484-362-0395
   EXTON, PA 19341-1129                        MAIL: KLI@FRONTAGELAB.COM


45 COBBS CREEK HEALTHCARE LLC                  OBBS CREEK HEALTHCARE LLC
                                               7TN: JUN HUANGPU
      U N HUANGPU
                                               HONE:610-513-8740                              TRADE DEBT                                                             $116,256
     200 MORGAN AVE
                                               MAIL:
     HAVERTOWN, PA 19083
                                               H UANGPU @COBBSCREEKHEALTHCARE.COM


 6 BIOECLIPSE LLC
                                               IOECLIPSE LLC
   PO BOX 512323                                                                              TRADE DEBT                                                             $113,381
                                               MAIL: MWEBSTER@THEACCESSGP.COM
   PHILADELPHIA, PA 19175



4~    LATTAIRTECHNIQUESINC                     LATTAIRTECHNIQUESINC
     STEPHEN RADOVANOVICH                      TTN:STEPHEN RADOVANOVICH
                                                                                              TRADE DEBT                                                             $109,135
     20 SPEAR RD                               HONE: 201-825-6337
     RAMSEY, NJ 07446-1221                     MAIL: STEPHEN.RADOVANOVICH@GLATT.COM


 $ PACKAGING COORDINATORS INC                  ACKAGING COORDINATORS INC
    I M HANEY                                  TTN:JIM HANEY
                                                                                             TRADE DEBT                                                              $108,815
    545 ASSEMBLY DR                            HON E:815-484-8900
   ROCKFORD, IL 61109                          MAIL:IIM.HANEY@PCISERVICES.COM


 9     LTERGON ITALIA SRL
       I NCENZO MANNA                          LTERGON ITALIA SRL
     ZONA INDUSTRIALE ASI                      TTN: VINCENZO MANNA                           TRADE DEBT                                                              $107,512
     M ORRA DE SANCTIS, AV 83040               MAIL: V.MANNA@ALTERGON.IT
     ITALY


50    HATCH ERCOMPANY                          HATCHER COMPANY
     PATRICK SCHWARTZ                          TTN: PATRICK SCHWARTZ
                                                                                             TRADE DEBT                                                              $103,393
     1905 FORTUNE RD                           HONE:801-972-4606
      ALT LAKE CITY, UT 84127                  MAIL: PATIRCK.SCHWARTZ@TCHEM.COM




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   Debtor name       Rhodes Pharmaceuticals L.P.

   United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF NEW YORK

   Case number (if known)
                                                                                                                             ❑ Check if this is an
                                                                                                                               amended filing



  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

  An individual who is authorized to act on behalf of anon-individual debtor, such as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
  amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
  and the date. Bankruptcy Rules 7008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
  1519, and 3571.



 Declaration and signature
-

          am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

         have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑       Schedule A/8. Assets—Real and Personal Property (Official Form 206A/B)
         ❑       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         ❑       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         ❑       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         ❑       Schedule H: Codebtors (Official Form 206H)
         ❑       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         ❑       Amended Schedule
         ~       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         ~       Other document that requires a declaration      Corporate Ownership Statement

         declare under penalty of perjury that the foregoing is true and correct.              /

        Executed on     September 15, 2019               X                         ~~/
                                                              Signature of individual signing on behalf of debtor

                                                              Jon Lowne
                                                              Printed name

                                                              Authorized Person
                                                              Position or relationship to debtor




 Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
